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                     EXHIBIT H
               Case: 1:22-cv-04127 Document #:ORIGINAL
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                                                                                                                        Page 1 of 3
  C.H. Robinson Contract Addendum and Carrier Load Confirmation - #390013200

    This load confirmation is confidential information of CH Robinson and may not be disclosed to third
                           parties without CH Robinson’s prior written approval.

                                         General Contact at Floyd Inc - T5349271

  C.H. Robinson requires automated shipment check-in and in-transit updates from
  one of the approved shipment status technologies. Additional information about
             these technologies can be found at www.chrobinson.com.

    If you require assistance during your check-in process, please use one of our
                         mobile apps, or call (800) 233-5623.

                                                  C.H. Robinson Communication

                                         Customer-Specified Equipment Requirements
Driver Name:            Larry                                                         Trailer #:         021077
Tractor #:              6472
Equipment:              Van - Min L=53


C.H. Robinson's Customer requires that the Carrier arrives at Shipper with the following specific equipment to properly transport this
shipment:
A clean, dry, empty, odor-free and hole-free trailer is required for this shipment.

SHIPPER#1:                      ConMet Charleston                                  Pick Up Date:         02/28/22
Address:                        2310 Charleston Regional Pkwy                      *Scheduled to Pick*
                                Charleston, SC 29492                               Pick Up Time:         08:00-15:00
                                                                                   Pickup#:
Phone:                          (843) 744-9777                                     Appointment#:

Please ask for and confirm receipt of:
Commodity                                  Est Wgt        Units        Count    Pallets    Temp        Ref #
BRAKE DRUMS                                42,984         Pallet(s)    18       18                     0000000000

Shipper Instructions

RECEIVER #1:                    Wheelco Distribution Center                        Delivery Date:        03/04/22
Address:                        610 S Marion Rd                                    *Open Delivery*
                                Sioux Falls, SD 57106                              Delivery Time:        08:00-15:00
                                                                                   Delivery#:
Phone:                          (123) 456-7890                                     Appointment#:

Please confirm delivery of:
Commodity                                  Est Wgt        Units        Count    Pallets    Temp        Ref #
BRAKE DRUMS                                42,984         Pallet(s)    18       18                     0000000000

Receiver Instructions
BUILDING #1
              Case: 1:22-cv-04127 Document #: 1-8 Filed: 08/05/22 Page 3 of 7 PageID #:73
                                                                                                               Page 2 of 3
  C.H. Robinson Contract Addendum and Carrier Load Confirmation - #390013200

                                                       Rate Details
Service for Load #390013200                                           Amount                    Rate           Extended
Line Haul - FLAT RATE                                                      1               $4,800.00           $4,800.00
                                                                                                        ______________
Total:                                                                                                        $4,800.00
                                               SUBMIT FREIGHT BILL TO:
                                                      CHRW Billing
                                                     P.O. Box 3470
                                                   Chicago, IL 60654
                                               LoadDocs@CHRobinson.com
                To insure prompt payment, all billing must be accompanied by an invoice with the
                                 Carrier Name and C.H. Robinson Load Number

                                               Fuel Surcharge Information
Please note that C.H. Robinson has included a $688.08 fuel surcharge within the listed transportation rate on this
confirmation. The fuel surcharge is an estimate based off of a weekly national average fuel price from the U.S. Department
of Energy.

                                             QUICK PAY and CASH ADVANCE
QUICK PAY - If you are a Carrier who utilizes C.H. Robinson's Quick Pay Program, you may email your invoice and required
paperwork to LoadDocs@chrobinson.com or visit NavisphereCarrier.com for other scanning options. Funds will be released
from C.H. Robinson, minus the fixed discount, within two business days from receipt of complete and legible paperwork.
Paperwork received by 12:00 noon (CST) will be counted as same day; paperwork received after 12:00 noon (CST) will
count as the next business day. Carriers enrolled in Quick Pay are no longer required to submit original paperwork for
payment in addition to using one of our billing methods unless otherwise instructed by C.H. Robinson. Carrier shall retain
custody of the original paperwork and provide it to C.H. Robinson upon Request.

C.H. Robinson also recommends that Carrier only submit "receipt" for payment once, regardless of billing method to avoid
additional fees. If you would like more information about becoming enrolled in Quick Pay, please contact the Quick Pay
Department at (800) 326-9977. For a list of our billing options, please visit NavisphereCarrier.com.


CASH ADVANCE – Carriers may request a cash advance from C.H. Robinson to be issued at C.H. Robinson’s sole discretion
as a partial settlement to the agreed upon rate. All cash advances will be deducted from final settlement; including a
transaction fee of the greater of 3% of the advance issued or $15 for each individual advance.
               Case: 1:22-cv-04127 Document #: 1-8 Filed: 08/05/22 Page 4 of 7 PageID #:74
                                                                                                                       Page 3 of 3
  C.H. Robinson Contract Addendum and Carrier Load Confirmation - #390013200

                       C.H. Robinson Contract Addendum and Carrier Load Confirmation Conditions
THIS LOAD CONFIRMATION IS SUBJECT TO THE TERMS OF THE AGREEMENT FOR MOTOR CONTRACT CARRIER
SERVICES ("AGREEMENT") PREVIOUSLY EXECUTED BETWEEN OUR COMPANIES AND THIS CONSTITUTES AN
ADDENDUM TO THE TERMS OF THAT AGREEMENT. WE AGREE TO PAY THE RATES AND CHARGES SHOWN ABOVE
AND NO DIFFERENT TARIFF RATE OR SCHEDULE OF RATES APPLY. THIS LOAD CONFIRMATION IS INCLUSIVE
OF ALL CHARGES. UNLESS ORAL AND WRITTEN FAX OBJECTIONS ARE MADE TO ITS TERMS, AT THE EARLIER
OF WITHIN TWENTY-FOURS (24) HOURS OF RECEIPT OR PRIOR TO WORK BEING INITIATED, YOU HAVE
AGREED TO THESE TERMS.
Additional Terms
1.
Unless C.H. Robinson provides written notice herein that this term does not apply to this shipment, Carrier's motor vehicle
equipment shall be dedicated to C.H. Robinson's exclusive use while transporting the cargo subject to this booking. Carrier's
violation of this exclusive use requirement shall result in Carrier's forfeiting its right to be paid for the transportation services
contemplated by this Load Confirmation, not as penalty, but as liquidated damages.
2.
Cash advance requests made after regular business hours will not be authorized. If Carrier requires a cash advance, Carrier
must make arrangements with the C.H. Robinson booking representative during normal business hours and/or upon booking
this shipment. Cash advance requests made outside of the C.H. Robinson booking branch's regular business hours may not
be authorized. If Carrier requires a cash advance, Carrier must make arrangements with the C.H. Robinson booking branch
during its normal business hours and/or upon booking this shipment.
3.
This rate is contingent upon successful and on-time completion of all load requirements as orally stipulated or written on this
Addendum and rate may be subject to reduction if Carrier fails to complete any applicable terms and conditions. Rate may
be reduced if load picks up or delivers after originally scheduled time and date. Carrier acknowledges that failure to
complete any terms and conditions on this shipment may jeopardize or result in loss of future business opportunities with
C.H. Robinson and/or cancelation of the Agreement.
4.
Accessorial charges (including but not limited to labor, detention, and/or layover charges) must be authorized and approved
prior to or at time of occurrence. C.H. Robinson will not provide any reimbursement of any non, prior-approved accessorial
charges. Carrier shall ensure the bill of lading is notated either when handling is required or when detention occurs, that a
lumper receipt is provided when a lumper is hired, and/or that both are included as supporting documents with the Carrier's
invoice. All overage, shortage, and damage must be reported to C.H. Robinson immediately, at time of occurrence, and
noted on the bill of lading.
5.
C.H. Robinson's Customer requires that Carrier provide, through C.H. Robinson, the following electronic shipment status
updates via EDI, NavisphereCarrier, the Navisphere driver app, or some other electronic method of providing shipment
status updates (unless otherwise specified on this confirmation): - Arrival at and departure from Shipper(s) within thirty
(30) minutes of occurrence; - A minimum of one check call per day, prior to 10:00am, each day that Carrier is in possession
of this shipment; and - Arrival at and departure from Receiver(s) within thirty (30) minutes of occurrence.
6.
For any problems or issues after regular business hours or over the weekends, please contact C.H. Robinson at (800) 428-
5377.
7.
For this shipment, Carrier agrees it shall be in possession of relevant and applicable cargo insurance coverage in an amount
sufficient to cover the loss or damage of the cargo being transported. Carrier's cargo insurance policy must not exclude from
coverage any commodities or cargo carried on this booking. If Carrier's cargo insurance policy contains a schedule of
covered vehicles or equipment, Carrier will not transport any cargo on this booking using a vehicle and/or equipment that is
not listed as scheduled on Carrier's cargo insurance policy.
               Case: 1:22-cv-04127 Document #:EDITED
                                              1-8 Filed: 08/05/22 Page 5 of 7 PageID #:75
                                                                                                                        Page 1 of 3
  C.H. Robinson Contract Addendum and Carrier Load Confirmation - #390013200

    This load confirmation is confidential information of CH Robinson and may not be disclosed to third
                           parties without CH Robinson’s prior written approval.

                                            Dylan Ristc at Floyd Inc - T5349271

  C.H. Robinson requires automated shipment check-in and in-transit updates from
  one of the approved shipment status technologies. Additional information about
             these technologies can be found at www.chrobinson.com.

    If you require assistance during your check-in process, please use one of our
                         mobile apps, or call (800) 233-5623.

                                                  C.H. Robinson Communication
This load was booked with William Hunter, (312) 944-7277 , HUNTWIL@chrobinson.com.

                                         Customer-Specified Equipment Requirements
Equipment:              Van - Min L=53


C.H. Robinson's Customer requires that the Carrier arrives at Shipper with the following specific equipment to properly transport this
shipment:
A clean, dry, empty, odor-free and hole-free trailer is required for this shipment.

SHIPPER#1:                     ConMet Charleston                                   Pick Up Date:         02/28/22
Address:                       2310 Charleston Regional Pkwy                       *Scheduled to Pick*
                               Charleston, SC 29492                                Pick Up Time:         08:00-15:00
                                                                                   Pickup#:
Phone:                                                                             Appointment#:

Please ask for and confirm receipt of:
Commodity                                  Est Wgt        Units        Count    Pallets    Temp        Ref #
BRAKE DRUMS                                42,984         Pallet(s)    18       18                     0000000000

Shipper Instructions

RECEIVER #1:                   Wheelco Distribution Center                         Delivery Date:        03/04/22
Address:                       610 S Marion Rd                                     *Open Delivery*
                               Sioux Falls, SD 57106                               Delivery Time:        08:00-15:00
                                                                                   Delivery#:
Phone:                                                                             Appointment#:

Please confirm delivery of:
Commodity                                  Est Wgt        Units        Count    Pallets    Temp        Ref #
BRAKE DRUMS                                42,984         Pallet(s)    18       18                     0000000000

Receiver Instructions
BUILDING #1
              Case: 1:22-cv-04127 Document #: 1-8 Filed: 08/05/22 Page 6 of 7 PageID #:76
                                                                                                               Page 2 of 3
  C.H. Robinson Contract Addendum and Carrier Load Confirmation - #390013200

                                                       Rate Details
Service for Load #390013200                                           Amount                    Rate           Extended
Line Haul - FLAT RATE                                                      1               $3,500.00           $3,500.00
                                                                                                        ______________
Total:                                                                                                        $3,500.00
                                               SUBMIT FREIGHT BILL TO:
                                                      CHRW Billing
                                                     P.O. Box 3470
                                                   Chicago, IL 60654
                                               LoadDocs@CHRobinson.com
                To insure prompt payment, all billing must be accompanied by an invoice with the
                                 Carrier Name and C.H. Robinson Load Number

                                               Fuel Surcharge Information
Please note that C.H. Robinson has included a $688.08 fuel surcharge within the listed transportation rate on this
confirmation. The fuel surcharge is an estimate based off of a weekly national average fuel price from the U.S. Department
of Energy.

                                             QUICK PAY and CASH ADVANCE
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               Case: 1:22-cv-04127 Document #: 1-8 Filed: 08/05/22 Page 7 of 7 PageID #:77
                                                                                                                       Page 3 of 3
  C.H. Robinson Contract Addendum and Carrier Load Confirmation - #390013200

                       C.H. Robinson Contract Addendum and Carrier Load Confirmation Conditions
THIS LOAD CONFIRMATION IS SUBJECT TO THE TERMS OF THE AGREEMENT FOR MOTOR CONTRACT CARRIER
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C.H. Robinson and/or cancelation of the Agreement.
4.
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covered vehicles or equipment, Carrier will not transport any cargo on this booking using a vehicle and/or equipment that is
not listed as scheduled on Carrier's cargo insurance policy.
